                                 Case 1:22-cv-11062-AK Document 1-5 Filed 07/01/22 Page 1 of 19

I,




     Spring 2019 -

              •           Prior to campus visit, I inquired about completing a sport-focused rotation (email) . My request
                          was denied by email and later a phone conversation . My request involved completing a clinical
                          rotation with a sports team as student and/ or as an employee of the team. During the phone
                          conversation, I was informed of the SJC PTA program policy that requires one in-patient rotation
                          and two out-patient rotations. Dr. Mills also mentioned that the SJC PTA program policy
                          prohibits students from performing rotations with a previous or a current employer.
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                                           Clinical Rotations
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                                           Kenneth. I will be out of town through Monday Is it something that can wait until next
                                           week? Do you want me to try and phone this week? Just give me an idea. Tx! Dr. T                                       Q       Protea


                                           From: Kenneth Pitts <notifica1ions@1nstructure.com>
                                           Sent Tuesday. February 5, 2019 10:35 AM                                                                                 c,~,..._ edit .wt   "6
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                                           To: Therese Millis, Dr. <M1llisT@sanjuancollege.edu>                                                                          , ~ a. .,.,cancnu
                                           Subject: Kenneth Pitts (2019SP Clinical Kinesiology (PTAP-125-601 )) just sent you a
                                           message in Canvas.
                          Case 1:22-cv-11062-AK Document 1-5 Filed 07/01/22 Page 2 of 19




                                                                                         Kenneth Pitts   Ta...      Kenneth Pitts - Mill-      Kfnneth Pttts to ML. •




                                          Clinical Rotations

                                          Hi Dr. Millis,
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                                          Thanks so much for your prompt response. I wonder if you might have bme to talk via                                                    ~ Ed1tPDf-
                                          phone sometime this week? If so, please feel to free to give me a call at your earliest
                                          convenience.                                                                                                                           ~ Create PDF

                                          Thanks for your time ,                                                                                                                        Comment

                                          Kenneth Pitts
                                          614.940 .9232

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                                          Clinical Rotations
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                                          Clinical Rotations

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                                          We require a student to do a traditional outpatient orthopedic rotation and an inpatient
                                                                                                                                                                                 §'.J   EdrtPDF
                                          rotation (hospital , nursing home). The sports team option would not really be an option
                                          given you only have a certain type of clientele where as in Outpatient Ortho you are                                                   ~ Create PDF
                                          treating a variety of ages, symptoms , etc ... I have seen ATC's do this in the past and
                                          some of them have actually come through the PTA Program .                                                                                     Comment


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         •          During our f irst visit to the SJC campus, two students {William Heath and Tyler Almieda) shared
                    that they were employed by the same company and would perform "all of their rotations with
                    their employer, at different locations", which were only out-patient sites. I assumed that the SJC
                    PTA program policy had changed since my previous request and phone conversation with Dr.
                    Millis and decided to make another request to do the very same thing that Heath and Almieda
                    were being permitted to do.


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                 •     I informed Dr. Millis that I had worked as PT Technician in the past. I continued, asking
                       specifically to "go back to work for this employer and perform my rotations at different
                       locations within the company?" I also shared with Dr. Millis a great job opportunity that
                       had become available to me, and presented possible scenarios that might permit me to
                       complete my rotations while not violating the SJC PTA Program policy.
                 •     Dr. Millis denied my request stating that the SJC PTA program policy prohibits students
                      from completing rotations with a previous or current employer, even if it is at different
                       locations within the company. She continued informing me that the policy is in place to
                       protect the student from being treated like a PT Tech or Aide during the rotation . She
                      finished saying if the student has worked or is working for the employer as an Aide or
                       Tech, the employer is likely to continue to use the student in that same manner rather
                       than making a student learning experience.
                 •     It is also important to mention that Dr. Millis addressed the entire class during this first
                       visit to campus regarding clinical rotations and the SJC PTA Program clinical site
                       selection process. Or. Millis addressed many things, but stressed that it is against the SJC
                       PTA Program policy to perform rotations with a previous or current employer in any
                      fashion, and that everyone must complete at least one of the three rotations in an in-
                       patient setting.

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                      (nursing borne. inpat ient rehab). school system. etc .. . You will be complttrng this rotation ~ay
                      25 -June 19 for a total of 160 hours . Even though a PT or PTA maybe your Clinical Instructor                                                                       ""'""'-
                      (Cl). a PT must be onsite at all times while you arc treating patients.

                      For Fal 2020 ro tatio n5, yo u must co mplete one rotatio n in each of th e following settin gs:
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                      extemships will be completed during Fall Z020. The first week ex temship will begin and end
                      August 24 - October9 (280 hours). The second week extemship will be October 12 -                                                                                     "'"""
                      November 27 .(280 hours) Each full-time extemship will each run consecutively 7 weeks back to
                      back with no breaks . When you call potential sites. please give them a general idea of when you
                      may be at the site.

                      Do not submit an incomplete form . I need e-mail acldresses, phone numbers and names to contact
                      for sites that do and do not have contracts. If w t do not b1ve an existing ro ntra ct with a ltc
                      you have cho en yo u wlll o ttd to contact th at facility fint to 1tt if th ey would be interested
                      In bost1na, a PTA stud ent. Ifwe have an existing contract, please do not call the site if it is in
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                                       that is why we want to begin working on sites now for placement in 2020.                                                                                                                                                                                                                                     0o--.
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                                       Rehabilitation site examples are skilled nursing facilities, nursing homes. and inpatient rehab.
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                                       pediatrics (Outpatient or inpatient). Outpatient orthopedics is primarily a site that is usually                                                                                                                                                                                                          ):- Get--.
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                               •       It is important to note that these policies were in place while the two students were
                                       already scheduled to perform their rotations with their employer, and at all out-patient
                                       sites. Dr. Millis was breaking the program rules for others while enforcing them with me.




May 8, 2019-

I sent an email to Lisa Easley in the SJC PTA program to request that A Tl Physical Therapy be added to my
clinical site list (email). Lisa directed me to email Dr. Millis with my request. Lisa stated that Dr. Millis
would add AT/ PT and contact A Tl to begin setting up the rotation process.

I spoke with Dr. Millis days after sending the email to discuss further the addition of A Tl Physical
Therapy. I explained to Dr. Millis what I had to Lisa through email. I explained that AT/ has many
locations in the Boston area and asked if I could possibly complete multiple out-patient rotation within
the company                        if the set up was successful.
Dr. Millis asked if I had worked for or was currently working for A Tl and reminded me of the SJC PTA
program policy. She explained yet again that a student cannot perform a rotation with a previous or
current employer even at various sites or locations within the company.



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A rotation contract with A Tl Physical Therapy was never sought by Therese Millis. An attempt was made
after her departure from the San Juan College PTA Program on June 30, 2020.

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Summer 2019 -

      •        While on campus in June and during my mid-term lab practical, the instructor Kristina Lacey
               showed a lack of integrity and professionalism. The class had been informed prior to the mid-
               term practical that PNF {Proprioceptive Neuromuscular Facilitation) movements would not be
               tested, and that we should not use our time studying this information at this time.
      •        During my mid-term lab practical with Kristina Lacey, she asked me to demonstrate PNF
               movements. I was confused, as the class had been that it would not be covered during this
               practical. After a moment, Kristina said "I know I said PNF would not be covered, but I want you
               to show me anyway." When I continued to hesitate, she forcefully requested it again saying
               "show me. "
      •        During the post practical briefing, Kristina immediately stated that I was over on time. After I
               responded, she went on to say "oh, that's right, you were over because I tested you on PNF and I
               wasn't supposed to." I agreed. She then said that I "better study PNF more closely or I'll be in
               trouble the next time." In closing, Kristina said "oh, you passed by the way" and I left the storage
               room .
      •        This caused a serious lack of trust for Kristina Lacey and the San Juan College PTA Program. At
               this point, I had encountered a breach in one of my exams, discrimination and inequality when I
               requested that which was being offered to other students and now testing over materials that
               had been previously ruled out.




                                                                                                                                                                                                                             5
          Case 1:22-cv-11062-AK Document 1-5 Filed 07/01/22 Page 6 of 19




Fa/12019 -

In the airport in Durango, CO. on November 1, 2019 while standing in line with the William Heath and
Tyler Almieda who had shared previously that they would complete all of their rotations with their
employer. In conversation, they both stated once again stated that they were scheduled to complete
                                                    11                        11
their rotations as such. They shared that they had nothing to worry about       ,   as they would be with their
employer at different sites within the company, and all out-patient.

During this November campus visit, the class was to meet individually with Dr. Millis to discuss and be
updated on clinical rotations. During my discussion with Dr. Millis, I suggested performing rotations at
different sites within one of the companies I had selected and had been approved by the site. Dr. Millis
responded by asking if I had previously worked for or was currently working for this particular clinic. She
                   11
asked specifically, did you work with or for" the individual who would be my Cl? Dr. Millis then began
stating again that doing so would be in violation of the SJC PTA Program policy and that she would make
                                                                                                      11
no exceptions for me. Dr. Millis finished saying that she had repeatedly told me this, and that I would
not receive special treatment in her program. ,, In the end, Dr. Millis said she would have to look into this
site and the Cl further, and sent the Cl another email message.

February 28, 2020 -

On this date I had a conversation with Kristina Lacey concerning a missed assignment. I explained to
Kristina that I had decided to complete an assignment that was also due on the same date that I would
acquire points for. When asked why I did not have enough time for both assignments, I told Kristin that I
was working long hours and also interviewing for more gainful employment. I shared with Kristin that
the job opportunities were great, but because of the SJC PTA Program policy, I could not perform a
rotation with the employer.

                                      11
Kristina responded suggesting that I drop out of the program.,, Her response was a bit upsetting as I
was well aware of the two students who were being permitted to perform rotations with their current
employer. I would imagine that Kristina was well aware of that also.

Why should I drop out" to acquire gainful employment while other students are being permitted to
              11




perform rotations with their employer?

April 23, 2020 -

A Zoom meeting was held by Dr. Millis to inform the class that our first rotation had been cancelled.
During the meeting Dr. Millis spoke on the changes made by CAPTE due to the Covid-19 pandemic. Dr.
Millis addressed many topics, but never did she mention the changes that she would later make on June
9, 2020, which permitted all students to complete rotations with a previous or current employer at
different sites. Please request Dr. Millis give you access to this Zoom meeting for confirmation of her
claim to have made the policy change announcement during this meeting, which she did not.




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                        Case 1:22-cv-11062-AK Document 1-5 Filed 07/01/22 Page 7 of 19



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                                                            company they are cooeotty empoyed by, but they will be perforrrnng the rotations at a                                               fonns & MJrttments
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                                                            dunng the conversation. the faaity they are employed by ,s an outpalleflt faahty and
                                                            they were to do all 3 mtallons Wilh the same company. but different localiO<ls




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                                                              Let me add that I met with Therese M1llts m the fall of 2019 to dtSCUSS the chrvcal sites
                                                              I was requestng At the time , Or Millis stated she had not heard from any of my
                                                              chosen and I mtght need to make other arrangements at different srtes If San Juan
                                                              College 'Ni3S unable lo procure a oontrad wtlh those sites She staled Southwest Spof1
                                                              and Sptne (SWSS) was a poss1blltty, as the school had a standing contract with them                                ~ Export PDF
                                                              I informed Dr MllltS I would not be able to do a rotation wtth SWSS as I had been a
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                                                              requested, accommodations could be made for me to do a rotatton at SWSS
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                                                              Tanvny R Duval, ATC                                                                                                   forms & agreements




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{Please contact by phone regarding: students being permitted to perform rotations with employer, Zoom
meeting announcement for policy change, etc)

Cindy Shannon : 916-521 -4793

Christie Starke: 505-991 -1949


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June 3, 2020 -

I spoke with Dr. Millis to request a "hands-on " experience rather than virtual lab by way of having a local
PT or PTA to complete skills check, etc in clinic. I was told that my only other option would be face to face
on campus in August if I chose not to participate in the PTAP 210 virtual lab. Dr. Millis advised me to
think on it and contact her with an answer prior to contacting Kristina Lacey. Dr. Millis also continued to
mention the requirement for an in-patient rotation.

June 9, 2020 -

I spoke with multiple people at San Juan College on June 9, 2020 regarding my complaint. The Dean of
Health Sciences was one of these people. Later that day, Dean Paxson sent an email "alerting" Dr. Millis
and Kristina Lacey of my complaint filing earlier that day.

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Student Comp lai nt Form

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[KENNETH                                                                                                       !current Student              j
Email •                                                                                                       Phone Number •
IKAPITTS9◄#MY.SANJUANCOUIGE.EDU                                                                               [614-940-9232

Type of Complaint •                                                                                           Department Name
!Academic Coursework

                                                                                                              Academic Pathway
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Description of Complaint, pluse be as detai led as possible. •
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    uld not receive: special treatment' while In this program. I later lumed tholt the PTA progr1.m Is allowing at least 2 of the students in my class to perform PTA clinical rotations "'mh their
 urrent empfoyu. Also, I have requested co volu nteer o r perform a d tnkal education experience tw.ed on recli!nt CAPTE amendments In the place of the recently added PTAP 210 Vlrtu.i lab.
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Have you discussed your- CoocN ns with an San Juan College: ~             1 Please be as ~         as possible.. •
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Dr. Therese MUii s .and Kristina L.ac@y o f the PTA program.



Ma.y San Juan CoUege use your name when addr-e..ssing the is.sue1 •

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Student Comp laint Form

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 es. I have discussed this issue with muluple indrvlduals as o f tOIUy Oune 9 , 2020) and awMt a response from Sherry Paxson, Oun of Health Sciences . I have also m.ade my requests known to
Dr. Tht re.st MUiis .and Kristina Lacey of the PTA program.




M•y San Juan College u se your name whffl addressi ng the issue? •
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                                                                         Hello Ken,
                                                                         Thank yOU for contactmg me today regard,ng your concerns ,n your program. I want to assure you that I take this seriously ar>d wiH ·ook mto this
                                                                         thoroughty. I want to recap our conversanon to make sure I am accurate before mo..rng forward.
                                                                         YOu had three main concerns
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     lribO-:                 526                                                  the prescr bed cours.e work.
                                                                         I will be contacnng your director and instructors to get more 1nformanon, m the meannme, I recommend that you keep up with your cummt class so
     D1,j't.s                                                            that thrs does not disrupt your proaress towards your goal of becorrung a PTA

     .)eflth!""S
                                                                         I have   ,3   family evef't later thrs week, but w1tl cononue looking into this -naner. ft may be early ne,,t week before I get back to you.


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                                                                         Sherry Paxson M.A. Ed
     llrnk:Ema•                                                          Dean, School of Health Sciences
                                                                         San Juan Col'ege
     At,;hne                                                             Farmington, NM
                                                                         pa,,.sons@saniuanco:lege .edu

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June 9, 2020 continued -

Shortly after being alerted to my complaint, Dr. Millis sent an email on June 9, 2020 addressing changes
in the SJC PTA Program policies. Dr. Millis was now saying that she would allow students to perform
rotations with a previous or current employer at different sites. Her email message matched what I had
reported as discrimination in my complaint. Please request Dr. Millis give CAPTE access to this Zoom
meeting for verification of her claim to have announced the clinical rotation policy change she claims to
have on April 23, 2020, in which she did not.




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                  Case 1:22-cv-11062-AK Document 1-5 Filed 07/01/22 Page 13 of 19




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(Please contact by phone regarding : students being permitted to perform rotations with employer, Zoom
meeting announcement for policy change, etc)

Cindy Shannon : 916-521-4793

Christie Starke: 505-991 -1949




Post Complaint (June 9, 2020 to Present) -

In a conversation with the Dr. Adrienne Forgette, VP for Learning at San Juan College, I was told that the
two students (William (PJ) Heath I Tyler Almieda) I had indicated as being permitted to complete
rotations with their employer " were permitted to so do so because they work for a Physical Therapy
clinic. " When I was told this, I informed Dr. Forgette that there was then another violation of the PTA
Program policy in that the employer of PJ and Tyler had no in -patient sites, and everyone is required to
complete at least one in-patient rotation . Dr. Forgette responding saying "they work for a Physical
Therapy company, so they can do that. "

As well, Dr. Forgette indicated that she, Dean Paxson, Dr. Therese Millis, and Dr. Amy Cooper, the current
interim Program Director, were in agreement that nothing had been found to substantiate my claim. The
conclusion these four came to makes no sense, as Dr. Forgette had stated that Dr. Mills had only
provided answers such as "I will not confirm, nor will I deny . .. " While Kristina Lacey answered with "I



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don't remember" when questioned. So why then would you now expect me to trust Dr. Amy Cooper if she
is a port of all of this?

Since then, Dr. Amy Cooper hos delayed and provided misleading information about CAPTE restrictions
that being placed on the SJC PTA Program and their ability to fulfill my requests to complete the didactic
portion of the program by way of "neutral eyes" that I may ovoid any further retaliation .

Also, ofter making it very clear that I no longer felt comfortable being graded by the PTA Program staff
while Dr. Millis and Kristina Locey were still involved with the PTA Program, Dr. Forgette falsely stated
that "Dr. Millis is no longer employed by the college." Dr. Forgette shored this information because of my
fear of retaliation and my repeated requests for her to view the Zoom meeting for verification that Dr.
Millis hod not announced the some changes on June 9, 2020.

In on email sent by Dr. Forgette on June 26, 2020, she stated that "Dr. Millis hos left the college", and
because of this, she would not be able to view the Zoom meeting. The information provided by Dr.
Forgette hod been token as truth until Dr. Millis sent on email message to the entire class on June 28,
2020 announcing her very sudden retirement and rotation updates. The email message Dr. Millis sent on
June 9, 2020 mode no mention of retiring at the end of the month, and actually stated that her "goal is
to graduate you on time in December 2020 . . . "

~ Kennetli P·tts - Fotgette - M..O.i Hn ~   f • Adobe Ac~t Rf..dtt DC



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            8/20/2020                                                                                      Mail • Kenned, A Pius · OAbok



                      Therese Millis (20205P Princi ples of Rehabili tation (PTAP -210-l0lW)) just sent you a message in Canvas. •                                  Q,      Expoll PDF

                      Therese Millis <noti fica tio ns@instru cture.com >                                                                                           ~ Ed1tPDF
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                                                               rotations and such                                                                                   ~       Combl'leFil~

                                                               Hello everyone•                                                                                      r,□ Orga'>ze Pages

                                                               I hope you all are happy and healthy I JUSI wanted to lcl you all know that I WIii bo                ,/l.    Redact
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                                                               really apprectaled (most ol en) wor1ong With end leochong sludenls I have really
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                                                               en,oyed gelbng to know you all and I have lo edmrt you all have been great to work
                                                               wrth I wil be wot1<111g on rotabons up through June 30th end after the 30th please
                                                               contact L,sa Easley el easleyh@sanJIJancollege edu or Amy Cooper at
                                                               coopera@saniuancollege edu                                                                            c,e:.. c. e d i t ~ ~ POf
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                                                               We are currently reactung out to the rotatlOOS who have not directly corresponded with
                                                               us for Fall 2020 Some rolallons have canceled for the year whde others are starting
                                                               to sk>wly take students back Some sites have never cancelled however we are
                                                               reachonq out lo double chock their prcvtOUs comm,tmenl 1n taking you                                 ~ Expott PDF

                                                               As I understand 1t some sites have already reached out lo you and 1nd1caled a                        ~ Ed1tPDF
                                                               cancellalK>n or a commitment Please let I isa or Amy know 1f you have heard from
                                                               them as sometnnes they may oommurnc:ate wrth you but not the school                                  (R,     Create PDF

                                                               The Exlemsh1p classes have been changed as follows                                                           Comment
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                                                               (ong1nol May-June rotallon)
                                                                                                                                                                    ~       Comb,ne File--.
                                                               PTAP 270 has been condensed doWn lo 5 weeks from the preV10Us required 7 weeks
                                                               PTAP 290 has been condensed doWn to 5 weeks from the pr0V10Us required 7 weeks
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                                                               August 24 - Oclober 2 -This first Fall rotaLon will be for a combined Iota I of 6 weeks
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                                                               With PTAP 230 blended ITTIO the PTAP 270- 5-week rotahon (6 weeks lolal)
                                                               October 5 - November 6 (5 weeks total)                                                               0       Protect


                                                               (CAPTE ondocaled ea~181' r, Spnng lllat PTA programs can reduce exlemsh1ps lo a
                                                               maximum total of 11 weeks wtuch ts the number of weeks 1nd11::ated above )
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                                                               The above dates may vary depending on the sites avallab1hty and your final rotatK>n




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                                                      On another note, I have heard from a few of you regarding questions about read,ness
                                                      for externshtp I know everyooe has dtflerenl leam,ng slyfes and I have tndtealed lo                                  Comment
                                                      some o l you fo, PTAP 210 (and Knsl tno has ag reed), you hove the optton of coming a
                                                      ltltfe ear1ter 10 August to complete a few days of oo-Stle lobs with hands on expenence                       CJ     Comb ne F~e~
                                                      IF onstle labs are held ., August Please contact Amy Cooper to checic and see tf this
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                                                      warm and kind regards and        best of luck m your futu re career!                                          iZ,    Redact

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                                                         Non-Discrimination Policy


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          Sen Juan College does not d,sc ummate on the ba~1s of a person·s race. colo r. reh9 1on. sex. sexual orienta t ion. gender 1den t1ty na tional ongm. d1sab1hty. age.
          gene tic. veteran·s status or on the basis of any o ther ca tegory protected under federal. state and loca l laws m regard to adm1ss1ons. employmen t.
          programs and act 1V1t1es T he following person has been designa ted to handle 1nqu1r1es regarding the non-d1scr1mina t1on policy of San Juan College

                                                                                            Stacey A llen
                                                                Assistant Duector of Human Resources and Title IX Coordinator
                                                                     Education Services Cente, Second Fl oor Room 4236
                                                                                         San J uan College
                                                                                     4601 College Boulevard
                                                                                Farmington. New M exico 87402
                                                                                       Off,ce 15051566-3515
                                                                                        Fax 15051 566-3521
                                                                               Email   a.J.e.ns_a}a:OJua.n.c..ollege e-dw

              San J uan Coll ege 1s in agreement wrth and ded1cated to prov1dmg a pla ce of work and learning that ,s free from d1scnmmation and harassment on the
          basis of a person·s race. color. religion. sex. sexual orientatio n. gender identJty. national ongm. d rsab1hty, age. genetic. veteran's status. or on the basis of any
          other category protected under federal, state and local laws Where a violation of policy 1s found to have occurred. San Juan College w ill act to sto p the
          conducl to prevent its recurrence . to remedy ,ts effects. and to d iscipline those responsible             1n accordance with the San Juan College Employee
          Handbook and/01 S,, n Juan College Student Code of Cond uct




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2.     No employee or student at San Juan College. either in the workplace or in the academic setting, should be subjected to d 1scriminat1on which include
inappropriate conduct Even one incident may constitute a V1olat1on of policy and can be the basis for asserbng a complaint It Is expected that students,
faculty and staff will treat one another and campus visitors with ,especl


3      It 1s against San Juan College policy to discriminate in any aspect of employment or education. which includes but Is not hm1ted to the followmg:

    1 Recruitment for employment at San Juan College.
    2. Employment and accommodabon m the workplace;
    3. Compensation;




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    4 Benefits and retirement benefits,
    5. Trensfe,s.
    6 Layoffs and returns to work;
    7. Institutionally sponsored educaUon and training;
    8 Tuition assistance.
 9 Social and recreabonal programs:
10. Staff development and career advancement;
1l Admission and class registration;
12. Testing,
13 Grading
14. Fac1hty and equipment use:
15 Housing,
16. Academic accommodat,ons:
17. Fm~ncial aid/scholarships:
18 A ny other terms and conditions of employment
19 Any othe, academic p1ograms.. terms and conditions_




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4      The dete,mmabon of what constitutes discrimination under this policy will be done on a case-by-case basis and depending upon the specific facts
and the context m which the conduct occurs Some conduct may be offensive. inappropriate unprofessional and/or subject to disciplinary action, but
would not constrtute d1scrimmat1on under the law The spec1f1c action taken, 1f any. relating to a particular instance depends on the nature and the
seriousness of the conduct that is reported

5. Discriminatory practices include, but are not limited to:

    1 Discrimination or harassment on the basis of a person's race. col01, religion. sex. sexual orientation. gender identity. national ongin, disabihty, age.
      genetic, veteran's status or on the basis of any other category protected unde, federal. state or local laws.
    2 Retahat1on against an individual for engaging in a protected actrvity such as filing a charge of discrimination. participating in an investigation. or
      opposing discriminatory practices;
    3_Use of electronic mail or computer dissemmat1on of offensrve matenal relatmg to p,otected categories;
    4. Denying or interfering with an employee's or student's autho,ized reasonable accommodation based on disability or reltgion;




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    5. Employment or education decisions based on stereotypes or assumptions about the ab1l1bes, traits or performance of mdiv1duals based on a person's
      race, color. religion, sex, sexual orientation. gender identity, national origin. disability. age. genetic. veterans status or on the basis of any other category
      protected under federal. state or local laws; and
    6. Conduct that has the purpose      01   effect of substantially mterfenng with an individual's academic or work performance or of creating an intimidating.
      hostile o, offensive environment in which to work or learn.



Appeal Process for Students:

1 Any party w ho 1s d1ssa t1sf1ed w it h the de term mat1on has the righ t to fil e an ap peal w1t h1n fifteen (1 5) work ing days of not1f1cahon o f t he dec1s,on A w ritten
not ice of Poll ey o n D1 scnm1natl on, Hara ss m ent and Sexual M isconduct o n Campus Page 17 of 30 app eal mu st be filed by th e aggrieved party w it h t he
Office o f the Vice Presi dent of Student Services

2 The Vice President of Student Servi ces has ten (10} working days fro m receipt of the signed notice of app eal to sc hed ule in a timely manner an appea ls




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    2 The V,ce President of Student Services has ten (10) workmg da'{S from receipt o the signed notice of appeal to schedule ma timely manner an appeals
    panel to hear the matter The appeal will be considered do novo by the appeal panel. which shall not be bound by the determmahon made by the
    EEO/T1tle IX Coordinator

    3 Upon receipt of the wutten notice o appeal. the Vice P,es,dent for Student Services for tus/her des1gnee will appoint an appeal panel composed o' six
    (6) persons and a chairperson The membe1sh1p of the Committee will include a Two (2) faculty members (outside the department of the alleged
    d1scummat1on occurrence). b Two (2) professional staff members (outside the department of the alleged d1sc11mmahon occuuence). c Two (2) students
    and d Representative staff member from Human Resource Office other tha n the EEO/Title IX Coordinator of then des1gnee

    4 The Vice President will ma,I a no hf1caho n o f the formal appea l hearing to all ind1v1duals involved w1thm ten 110) working days afte1 the receipt of the
    written not ice of appeal

    5 The appeal panel will provide all involved md1v1duals an oppo,tunity to present relevant evidence and witnesses and present arguments and the hea11ng
    will comply with due process requirements C ross examination of the complainant or respond ing party will be done by written questions submitted to the
    Vice President for Student Services af er a short break in the hearing to mmImIze t he potential for a hostile envuonment The appellant at the appeal
    heanng may have an advisor to consult and support them Advisors may not speak at the heanng. may not address the panel. or question witnesses
    Advisors who are d1srupt1ve or fall to follow these rules wtll be removed Spec1f1c gu1dehnes for the appeal heanng are located in the Student Handboo

    6 The appeal panel Wlll determine the outcome of the appeal based on all information presented at the appeal hearing and will use the preponderance of
    evidence standard The outcome of the appeal will be determined by ma1onty vote of the part1c1patmg appeal panel part1c1pants Polley on D1scnmmat1on
    Harassment and Sexual Miscondu ct o n Campus Page 18 of 30

    7 The wntten decision of the appeal panel will be given to the md1v1duals involved. the Title IX Coordinator the V ice President for Student Services. and
                                                                                                                                                                            I
    the five (5) workmg days following the co mpl etion of the appeal heanng T he complainant will only be not1f1ed o f any sanctions imposed on the
    respondent 1f the sanction directly relates to the complammg student

    8 A ny dec1s1on of the appeal panel may be appealed to the President within ten (10) working days following the hearing by dehve11ng a written notice of




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                                                                                                                                                                    *   0
    8 Any dec1s1on of the appeal panel may be appealed to the Presiden t within ten (10) working days following the hearing by dehvenng a written notice of
    appeal to the Of'1ce of the President Upon receipt of the wntten notice for appeal. the President w ill review the decision based on the record presented
    w1th1n thirty (30) working days There will be no appearance or oral argument presented to the President The dec1s1on of the President Is fina l and non-
    appealab le

    9 Records of the appeal panel dec1s1on will be kept m the Office of the Vice President for Student SeMces and the EEO/Title IX Coordinator

    10 All students are not1f1ed that they also have a right to file compl aints with the appropnate state federal. regional o, na t ional agency 1f they choose
    mcludmg filing complaint wi th local law enforcement for sexual vio lence complaints

    11 Penalties Cases for students who are found to have violated the San Juan College Student Code of Conduct w,11 be referred to the Vic e President of
    Student Services Sanctions for students may include any of the actions hsted m Section I above




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